                              NO. 07-11-00089-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
--------------------------------------------------------------------------------
SEPTEMBER 9, 2011
--------------------------------------------------------------------------------

                                       
                         MARK ANTHONY LUCIO, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
--------------------------------------------------------------------------------

                                       
                 FROM THE 64TH DISTRICT COURT OF HALE COUNTY;
                                       
            NO. A17785-0809; HONORABLE ROBERT W. KINKAID JR., JUDGE
--------------------------------------------------------------------------------


Before CAMPBELL and HANCOCK and PIRTLE, JJ.

                                       
                              MEMORANDUM OPINION
	Appellant, Mark Anthony Lucio, pleaded guilty to the felony offense of burglary of a habitation and, pursuant to a plea bargain, was placed on deferred adjudication community supervision for eight years.  Subsequently, the State filed a motion to adjudicate the offense.  Appellant was adjudicated guilty of the burglary offense and sentenced to serve a term of confinement for 11 years in the Institutional Division of the Texas Department of Criminal Justice.  Appellant appealed the trial court's judgment.  We affirm.
Appellants attorney has filed an Anders brief and a motion to withdraw.  Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 498 (1967).  In support of his motion to withdraw, counsel certifies that he has diligently reviewed the record, and in his opinion, the record reflects no reversible error upon which an appeal can be predicated.  Id. at 744-45.  In compliance with High v. State, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial courts judgment.  Additionally, counsel has certified that he has provided appellant a copy of the Anders brief and motion to withdraw and appropriately advised appellant of his right to file a pro se response in this matter.  Stafford v. State, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991).  The Court has also advised appellant of his right to file a pro se response.  Appellant did not file a response.  By his Anders brief, counsel reviewed all grounds that could possibly support an appeal, but concludes the appeal is frivolous.  We have reviewed these grounds and made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal.  See Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Bledsoe v. State, 178 S.W.3d 824 (Tex.Crim.App. 2005).  We have found no such arguable grounds and agree with counsel that the appeal is frivolous.
Accordingly, counsels motion to withdraw is hereby granted and the trial courts judgment is affirmed.

								Mackey K. Hancock
                                                               Justice
Do not publish. 


